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                                            PRECEDENTIAL

           UNITED STATES COURT OF APPEALS
                FOR THE THIRD CIRCUIT
                    ______________

                            No. 23-1212
                          ______________

                        RACHEL SPIVACK,
                                  Appellant

                                 v.

    CITY OF PHILADELPHIA; LAWRENCE S. KRASNER
                  ________________

          On Appeal from the United States District Court
             for the Eastern District of Pennsylvania
                  (D.C. Civil No. 2-22-cv-01438)
            District Judge: Honorable Paul S. Diamond
                        ________________

                   Argued on November 29, 2023

      Before: KRAUSE, FREEMAN, and MONTGOMERY-
                  REEVES, Circuit Judges

                   (Opinion filed: July 29, 2024)
                        ________________

   Justin Butterfield
   David J. Hacker
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                          __________

                 OPINION OF THE COURT
                       __________


   FREEMAN, Circuit Judge.

         Rachel Spivack worked at the Philadelphia District
   Attorney’s Office (DAO) and was subject to its COVID-19
   vaccine mandate. The DAO denied her request for a religious




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   exemption, and she lost her job. She then sued the City of
   Philadelphia and District Attorney Lawrence Krasner,
   claiming that the mandate violated her constitutional right to
   the free exercise of religion. The District Court rejected that
   claim, granting the defendants’ motions for summary judgment
   and denying Spivack’s cross-motion. Because it overlooked
   factual disputes that a jury must resolve, we will vacate its
   order and remand the case for trial.

                                  I

                                  A

          In March 2020, the COVID-19 pandemic severely
   disrupted the DAO’s operations. Although the office adapted,
   it faced serious constraints: the criminal justice system could
   not shut down, and some of the DAO’s responsibilities could
   be accomplished only in person.

          Krasner responded to the pandemic by instituting a
   series of policies governing building access, masking, testing,
   and quarantine after exposure. He issued these policies under
   his broad authority to manage the office as an independently
   elected official. To develop the policies, he relied on guidance
   from the Centers for Disease Control and Prevention, the
   Philadelphia Department of Public Health, and a small team of
   advisors, including Michael Lee, his Chief of Staff; Cecilia
   Madden, his Deputy Chief of Staff; and his two First Assistant
   District Attorneys, Robert Listenbee and Carolyn Temin.

          Some of the DAO’s COVID-19 policies lined up with
   the City’s, but others did not. Krasner believed that the City
   was politically constrained to enact suboptimal rules that did
   not maximize employee and public health. So he charted his




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   own course, driven by a conviction that the DAO’s public
   safety mission required it to protect from infection its own
   employees, their families, and the people they encounter in the
   criminal justice system, including defendants, crime victims,
   defense lawyers, judges, and court staff.

          Given the setup of the DAO, Krasner’s policymaking
   authority did not extend to all DAO employees. The line
   prosecutors in the office, known as Assistant District Attorneys
   (ADAs), are non-unionized, at-will employees who serve at the
   DA’s pleasure. Some other DAO employees, however, are
   members of municipal employee unions. For instance, several
   Philadelphia Police Department officers are assigned to the
   DAO, and they belong to the City’s police union. Similarly,
   some civil servants working in administrative roles at the DAO
   belong to a public employee union. These workers’ terms of
   employment are governed by collective bargaining agreements
   between their unions and the City.

          For about a year after the onset of the pandemic, the
   office operated in limbo, with many of its employees working
   a remote or hybrid schedule. Once vaccines became widely
   available in spring 2021, Krasner and his advisors began to
   discuss how to safely revert to in-office work.

                                  B

           Spivack graduated from law school in spring 2021, and
   the DAO offered her an ADA position beginning that
   September. The offer specified: “Your employment in this
   position is exempt from Civil Service and is considered ‘at-
   will,’ which means you serve at the pleasure of the District
   Attorney.” App. 39. She accepted the offer, signing a form
   that reiterated the at-will nature of the position and affirmed




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   her understanding that her “employment, future unit
   assignments, duration of assignments, transfers, and any salary
   increases are completely within the discretion of the District
   Attorney.” App. 41–42.

           In preparation for her employment at the DAO, Spivack
   registered to take the Pennsylvania bar exam remotely in July
   2021. Ultimately, she did not comply with the remote testing
   requirements and could not take the exam. She shared this
   news with Madden, who told her that the DAO would assign
   her to an ADA position that did not require a license to practice
   law in Pennsylvania. In September 2021, Spivack started
   working in that capacity in the DAO’s Juvenile Diversion Unit.

                                  C

          About a month before Spivack’s start date, the DAO
   issued the initial version of its COVID-19 vaccine mandate
   (“the August 2021 policy”). Madden developed the policy in
   consultation with Krasner, who ultimately approved it.

          The August 2021 policy required “[a]ll DAO
   employees . . . to provide proof of vaccination or apply for an
   exemption by September 1, 2021.” App. 51. It did not offer
   any alternatives to vaccination, such as masking or testing. But
   it set out a process to apply for medical or religious
   exemptions: employees could fill out a form with a description
   of the requested exemption and the reasons it should be
   granted. Religious exemptions would be granted “absent
   undue hardship, to employees with verifiable, sincerely held
   religious beliefs, observances, or practices that conflict with
   getting vaccinated.” App. 52. Exemption requests would be
   evaluated “on a case-by-case basis considering various factors
   and based on an individualized assessment in each situation.”




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   Id. The policy also said that “[t]he DAO will engage in an
   interactive dialogue with you to determine the precise
   limitations of your ability to comply with this . . . policy and
   explore potential reasonable accommodations that could
   overcome those limitations.” App. 53. This decision to permit
   requests for exemptions was based on “the employment law
   knowledge at the time that issuing this kind of mandate allows
   for some process for requesting exemptions.” App. 166.
   Because unionized DAO employees like police officers and
   civil service workers were governed by their collective
   bargaining agreements, they were not subject to the policy.

          The DAO implemented the August 2021 policy for
   several reasons. Top of mind were the risks to life and health
   posed by COVID-19. Several members of DAO leadership
   knew people who died from the disease. They were concerned
   about particularly vulnerable employees, including elderly
   employees and those with preexisting medical conditions, and
   employees’ family members, including young children who
   were not yet eligible for vaccination. They also wanted to
   prevent COVID-19 outbreaks that could disrupt the office and
   undermine its ability to function, particularly as the court
   system reopened.      Relatedly, they hoped to convince
   employees who were reluctant to return to the office that in-
   person work would be safe.

          Krasner also considered alternatives to a mandate and
   found them insufficient. He thought a weekly testing regime
   would impose a large administrative burden on the office yet
   provide incomplete information. He believed a masking
   requirement would be difficult to enforce, and he had no
   authority or budget to change the ventilation system in the
   DAO’s office building.




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                                   D

           Spivack received notice of the August 2021 policy
   shortly before her first day at the DAO. In September 2021—
   within a week of starting work—she submitted a religious
   exemption request with a supporting letter from her rabbi. The
   letter stated that Spivack belongs to the rabbi’s congregation,
   that she “is an orthodox Jew who is fully observant of
   Scriptural and rabbinic laws and guidance,” App. 54, and that
   her “religious grounds for declining this vaccination are valid
   and reflect deep personal commitment to her religious
   practice,” App. 56–57.

          In December 2021, Madden emailed all recent hires
   who had not yet submitted proof of vaccination, including
   Spivack. The email instructed those seeking medical or
   religious exemptions from the mandate to complete and return
   an exemption form. It attached a form that asked applicants to
   “describe the specific belief that supports your receiving a
   religious exemption from being vaccinated for COVID-19.”
   App. 60. The form also asked about the applicant’s vaccination
   history, history of receiving religious exemptions from
   vaccination requirements, membership in an organized
   religion, affiliation with a religious congregation and
   attendance at religious services, and religious beliefs about diet
   and medical care. Madden and Krasner both testified that,
   when they distributed the form, they had not yet decided how
   to handle religious exemptions.

          Spivack completed the detailed form and returned it to
   Madden. She wrote that “[a]ll three available brands of
   COVID-19 vaccines constitute a profound violation of the
   scriptural prohibitions against forbidden mixtures,” and that
   “[i]njecting such forbidden substances directly into our




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   bloodstream completely challenges scriptural teaching that
   regards one’s body as the repository of the soul made in God’s
   image.” App. 60–61. She noted that her religious beliefs
   preclude receiving any vaccine (not just the COVID-19
   vaccine), that she had not received any vaccines in the past ten
   years, and that she was exempted from her law school’s
   vaccination requirement.1 She also explained that there are
   diverse beliefs about vaccination within the Orthodox
   community: because “Orthodox Judaism does not have a single
   central authority” and “[m]any decisions related to modern
   medical treatment and Jewish law require interpretation and
   extrapolation from ancient sources,” different Orthodox rabbis
   “may come to different, but equally valid, rulings about a
   course of action.” App. 64.

                                  E

          In January 2022—after Spivack submitted her
   exemption form and supporting documentation, but before she
   received a decision—Madden and Krasner claim that the DAO
   made a policy change. Rather than offering religious
   exemptions and evaluating them case-by-case, as the August
   2021 policy provided, Krasner decided to categorically deny
   religious exemption requests without individualized
   assessment.2 He opted to implement this new policy (“the

   1
     As evidence of her exemption from her law school’s
   vaccination requirement, Spivack attached the form she
   submitted in support of that exemption request.
   2
     The City, by contrast, allowed religious exemptions case-by-
   case. When the City approved an exemption, it would forward
   that determination to the relevant employee’s department.




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   January 2022 policy”) after conducting legal research and
   determining that the law did not require religious exemptions
   to a vaccine mandate. He also considered the emergence of the
   Omicron variant of COVID-19, which caused a surge of cases
   in December 2021 and January 2022, and his discomfort with
   the prospect of adjudicating the sincerity of his employees’
   religious beliefs.

          Krasner testified that he established the January 2022
   policy before reading any of the exemption requests. Although
   he made the final decision to implement this new policy, he
   consulted his senior advisors before making the change.

           The record invites some questions, however, about the
   exact terms of the policy change or whether a change was made
   at all. No evidence shows that the January 2022 policy was
   committed to writing or disseminated to DAO staff. (By
   contrast, the August 2021 policy was written down and
   addressed in emails to staff.) Listenbee, the First Assistant DA,
   testified that there was no change in the policy and that Krasner
   still reviewed all religious exemption requests on an
   individualized basis after January 2022. Krasner also admitted

   Exempted employees had to double mask and undergo routine
   testing. But the implementation of these requirements was left
   to the discretion of each department. The record reveals that
   some DAO employees erroneously forwarded their exemption
   requests to the City, which processed them. Spivack, however,
   never sent any information to the City, so it never adjudicated
   her exemption request. Krasner testified that he disagreed with
   the City’s policy “[b]ecause it presents yet another
   public . . . health obstacle in the middle of an international
   pandemic within the walls of my office.” App. 348.




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    that he reviewed the religious exemption requests, though he
    says that he did so only out of respect for the time employees
    devoted to preparing them. In any event, Krasner denied
    Spivack’s exemption request.

                                   F

           Spivack learned that her exemption request was denied
    at a meeting in March 2022. Madden led the meeting and
    conveyed the denial by reading from a prepared script. She
    declined to explain the decision further and did not tell Spivack
    that the DAO was categorically denying religious exemption
    requests.

            Several days later, Spivack received a formal denial
    letter signed by Madden. The letter explained that Spivack’s
    exemption request was denied “for failing to meet legal
    requirements.” App. 66. It included a “Legal Analysis”
    claiming that the mandate was neutral and that exemptions
    would cause an undue burden. App. 66–67. It also stated the
    following:

           In addition to the law permitting the DAO’s
           neutral COVID-19 vaccine policy and not
           requiring accommodations if they constitute an
           undue burden for the DAO, Rachel Spivack does
           not present a credible claim that their opposition
           to the vaccine was based on their religious
           beliefs. The fact that an individual is religiously
           devout does not by itself qualify them under the
           law for a religious exemption. DAO has not
           designated which currently approved COVID-19
           vaccine an employee must take. Consequently,
           to the extent an employee opposes how the




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           vaccine was manufactured, they have other
           COVID-19 vaccines from which to choose.

    App. 67. Though this passage references Spivack by name, it
    bears the indicia of a form letter: it uses gender-neutral
    pronouns, and Spivack’s name was entered on a blank line. It
    also does not address the contents of Spivack’s exemption
    request form (which explained, among other things, that taking
    any of the available COVID-19 vaccines would violate her
    religious beliefs). Krasner testified that the letter does not
    reflect the January 2022 policy, that it was drafted before he
    eliminated the religious exemption, and that he did not review
    it before Madden sent it to Spivack.

            In addition to the letter from Madden, Spivack received
    a letter from Lee, the Chief of Staff, informing her that, because
    her exemption request had been denied, she would be placed
    on leave if she did not get vaccinated. She then met with
    Listenbee to ask whether there was any way to keep her job
    without getting vaccinated. Listenbee told her that he was
    unaware of any workarounds. Spivack claimed that she
    offered to mask indefinitely in the office and test weekly, but
    that Listenbee “refused to engage.” App. 496. Spivack also
    asked Jordan King, the head of the Juvenile Diversion Unit and
    her immediate supervisor, about a remote work arrangement,
    but DAO leadership told King that such an arrangement was
    unavailable.

           Several weeks later, Madden emailed Spivack to tell her
    that the DAO would “separate [her] from service” effective




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    April 8 if she did not get vaccinated. App. 69. Spivack
    remained unvaccinated, and she was terminated on April 8.3

                                    G

           Spivack sued Krasner and the City in April 2022. She
    claimed that the DAO’s vaccine mandate violated the First
    Amendment’s Free Exercise Clause and the Pennsylvania
    Religious Freedom Protection Act.

           The parties engaged in discovery, including depositions
    of Krasner, Madden, Listenbee, and Spivack. After discovery
    concluded, the District Court granted Krasner’s and the City’s
    motions for summary judgment and denied Spivack’s cross-
    motion. It held that the mandate was neutral and generally
    applicable and therefore subject to rational basis review.
    Applying that standard, the District Court held that the
    mandate was constitutional because it was rationally related to
    the DAO’s interests in curtailing the spread of COVID-19,
    avoiding staffing shortages, and reducing the risk of death and
    serious illness among DAO staff and the public. In the
    alternative, it held that the mandate satisfied strict scrutiny.
    The Court also dismissed Spivack’s state law claim for lack of

    3
      If Spivack had continued her employment at the DAO, she
    would have been transferred to the Municipal Court Unit in
    April 2022, after she passed the February 2022 bar exam. That
    job requires in-person work: ADAs in the unit spend five days
    a week in court, where they interact with police officers,
    defense counsel, judges, and court staff. After finishing court
    proceedings in the middle of the afternoon, they work in the
    office with colleagues for the rest of the day, and often into the
    evening.




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    jurisdiction. Spivack appealed the resolution of her Free
    Exercise Clause claim only.4

                                     II

           The District Court had jurisdiction over the Free
    Exercise Clause claim under 28 U.S.C. § 1331. We have
    appellate jurisdiction under 28 U.S.C. § 1291.

           “We review de novo the District Court’s resolution of
    cross-motions for summary judgment.” Stradford v. Sec’y Pa.
    Dep’t of Corr., 53 F.4th 67, 73 (3d Cir. 2022). A grant of
    summary judgment is appropriate only “if, when viewed in the
    light most favorable to the [nonmoving party], there is no
    genuine issue of material fact and the moving party is entitled
    to judgment as a matter of law.” Natale v. Camden Cnty. Corr.
    Facility, 318 F.3d 575, 580 (3d Cir. 2003). A dispute of
    material fact is genuine “if the evidence is such that a
    reasonable jury could return a verdict for the nonmoving
    party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248
    (1986). At this stage, “[o]ur role is to determine whether there
    is a genuine issue for trial[,] . . . not . . . to weigh the evidence




    4
      Spivack appeals from the order resolving all three parties’
    motions for summary judgment on the Free Exercise Clause
    claim.
    The City moved to be excused from appellate briefing because
    it agreed with the brief filed by Krasner, and this Court granted
    that motion. Accordingly, the City asserted no additional
    defenses to Spivack’s claims in this appeal.




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    and determine the truth of the matter.” Peroza-Benitez v.
    Smith, 994 F.3d 157, 164 (3d Cir. 2021) (cleaned up).5

                                   III

            The Free Exercise Clause of the First Amendment states
    that “Congress shall make no law . . . prohibiting the free
    exercise” of religion. U.S. Const. amend. I. This constitutional
    provision applies to state and local governments through the
    Fourteenth Amendment. See Cantwell v. Connecticut, 310
    U.S. 296, 303 (1940). To protect religious liberty, the Free
    Exercise Clause does more than guard “the right to harbor
    religious beliefs inwardly and secretly.”           Kennedy v.
    Bremerton Sch. Dist., 597 U.S. 507, 524 (2022). Instead, it
    “does perhaps its most important work by protecting the ability
    of those who hold religious beliefs of all kinds to live out their
    faiths in daily life through the performance of (or abstention
    from) physical acts.” Id. (cleaned up).

           Not all restrictions on religious exercise are
    presumptively unconstitutional, however. Because many
    government policies incidentally burden religious practice,
    routinely exempting citizens from laws meant to apply to
    everyone would risk “permit[ting] every citizen to become a
    law unto himself.” Emp. Div., Dep’t of Hum. Res. of Or. v.
    Smith, 494 U.S. 872, 879 (1990) (citation omitted). Yet we

    5
      When, as here, both parties move for summary judgment,
    courts “must rule on each party’s motion on an individual and
    separate basis, determining, for each side, whether a judgment
    may be entered in accordance with the [summary judgment]
    standard.” Auto-Owners Ins. Co. v. Stevens & Ricci Inc., 835
    F.3d 388, 402 (3d Cir. 2016) (citation omitted).




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    must closely scrutinize policies that single out “religious
    conduct for distinctive treatment.” Church of Lukumi Babalu
    Aye, Inc. v. City of Hialeah, 508 U.S. 520, 546 (1993); see also
    id. at 532 (“[I]t was historical instances of religious persecution
    and intolerance that gave concern to those who drafted the Free
    Exercise Clause.” (cleaned up)). The Supreme Court sought to
    accommodate these competing imperatives in Employment
    Division v. Smith, instructing that the Free Exercise Clause
    “does not relieve an individual of the obligation to comply with
    a valid and neutral law of general applicability.” 494 U.S. at
    879 (cleaned up).

           Under Smith, we therefore apply sharply divergent
    standards of scrutiny based on whether a law or policy is
    neutral and generally applicable. Tenafly Eruv Ass’n v.
    Borough of Tenafly, 309 F.3d 144, 165 (3d Cir. 2002).
    Government policies that are both neutral and generally
    applicable are subject to rational basis review—a deferential
    standard that only requires the government’s action to be
    rationally related to a legitimate interest. Id. at 165 n.24. By
    contrast, policies that are not neutral or not generally
    applicable trigger strict scrutiny—a far more exacting standard
    that demands the government show that its actions were
    narrowly tailored to further a compelling interest. Id. Put
    differently, we evaluate neutral and generally applicable
    policies under an easily satisfied, though not toothless,
    standard of scrutiny, but we subject policies that fail to be
    neutral or generally applicable to the closest examination.
    Whether a policy is constitutional often hinges on which
    standard applies.

            This case illustrates the importance of the standard. All
    parties to this appeal agree that Spivack refused the COVID-19




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    vaccine based on her sincere religious beliefs and that the
    DAO’s vaccine mandate burdened her religious exercise. The
    main dispute, then, is whether the mandate is neutral and
    generally applicable.

           A government policy is neutral if it does not “restrict[]
    practices because of their religious nature” or evince
    “intoleran[ce] of religious beliefs.” Fulton v. City of
    Philadelphia, 593 U.S. 522, 533 (2021). And a policy is
    generally applicable so long as it does not either “provid[e] a
    mechanism for individualized exemptions” or “prohibit[]
    religious conduct while permitting secular conduct that
    undermines the government’s asserted interests in a similar
    way.” Id. at 533–34 (cleaned up).

           “Neutrality and general applicability are interrelated,”
    and a government policy that fails one prong of the Smith test
    will often fail the other. Lukumi, 508 U.S. at 531. This is
    because both inquiries inform the same fundamental question:
    does the policy single out religious practices for distinctive
    treatment? See Trinity Lutheran Church of Columbia, Inc. v.
    Comer, 582 U.S. 449, 458 (2017) (“The Free Exercise
    Clause . . . subjects to the strictest scrutiny laws that target the
    religious for special disabilities based on their religious status.”
    (cleaned up)). To answer this question, we search for anti-
    religious animus on the face of the policy itself and in the
    circumstances of its enactment. But we also look for subtler
    signs that policymakers targeted religion. For instance,
    arbitrary distinctions between religious and secular conduct
    suggest anti-religious bias.              Likewise, open-ended,
    discretionary exemptions permit government officials to mask
    discrimination against religion. See Lighthouse Inst. for
    Evangelism, Inc. v. City of Long Branch, 510 F.3d 253, 276 (3d




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    Cir. 2007) (treating a system of individualized exemptions as
    “suspicious” because “certain violations may be condoned
    when they occur for secular reasons but not when they occur
    for religious reasons”).

            Despite their interrelatedness, the two inquiries are
    analytically distinct. The neutrality inquiry, with its focus on
    the purpose of or motivation behind a policy, asks us to
    examine policymakers’ subjective intent. See We the Patriots
    USA, Inc. v. Conn. Off. of Early Childhood Dev., 76 F.4th 130,
    149 (2d Cir. 2023) (“We the Patriots II”) (“[T]he Supreme
    Court has used a consistent cluster of terms to describe the kind
    of official attitude that violates the neutrality prong of Smith—
    ‘hostility,’ ‘animosity,’ ‘distrust,’ ‘a negative normative
    evaluation.’” (citation omitted)); Jesus Christ Is the Answer
    Ministries, Inc. v. Baltimore County, 915 F.3d 256, 265 (4th
    Cir. 2019) (describing non-neutrality as the presence of a
    “discriminatory motive”). The general-applicability inquiry,
    by contrast, focuses on the objective sweep of a policy: whom
    it covers, whom it exempts, and how it makes that distinction.
    See Fulton, 593 U.S. at 533–34.

           Here, the District Court held that the DAO’s vaccine
    mandate was both neutral and generally applicable as a matter
    of law, and therefore subject to rational basis review. We
    disagree. The summary judgment record reveals two disputes
    of material fact that affect the neutrality and general-
    applicability analyses: (1) whether comments Krasner made in
    a deposition evinced anti-religious bias, and (2) whether
    Krasner evaluated Spivack’s exemption request under the
    August 2021 policy (which provided for individualized,
    discretionary religious exemptions) or the January 2022 policy




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    (which did not). A jury must resolve these disputes to
    determine which standard applies.

                                     A

           We begin with neutrality. “Government fails to act
    neutrally when it proceeds in a manner intolerant of religious
    beliefs or restricts practices because of their religious nature.”
    Fulton, 593 U.S. at 533. To decide whether a policy is neutral,
    we first consider the text of the challenged law or policy, since
    “the minimum requirement of neutrality is that a law not
    discriminate on its face.” Lukumi, 508 U.S. at 533. We also
    weigh “the historical background of the decision under
    challenge, the specific series of events leading to the enactment
    or official policy in question, and the legislative or
    administrative history, including contemporaneous statements
    made by members of the decisionmaking body.” Id. at 540.
    Even “subtle departures” from religious neutrality are
    forbidden. Id. at 534 (citation omitted).

            Both the August 2021 and January 2022 policies are
    facially neutral. The August 2021 policy required “[a]ll DAO
    employees . . . to provide proof of vaccination or apply for an
    exemption by September 1, 2021.” App. 51; see Kane v. De
    Blasio, 19 F.4th 152, 164 (2d Cir. 2021) (holding that a vaccine
    mandate was facially neutral because “[i]t applie[d] to all DOE
    staff” (internal quotation marks omitted)). The January 2022
    policy—which provided for only medical exemptions but
    otherwise mirrored the August 2021 policy—similarly applied
    to all DAO employees. See M.A. ex rel. H.R. v. Rockland Cnty.
    Dep’t of Health, 53 F.4th 29, 37 (2d Cir. 2022) (“[The policy]
    is facially neutral in that it applies to all unvaccinated children,
    but for two limited exceptions . . . .”).           Neither policy
    “single[d] out employees who decline vaccination on religious




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    grounds.” Kane, 19 F.4th at 164; cf. Combs v. Homer-Ctr. Sch.
    Dist., 540 F.3d 231, 242 (3d Cir. 2008) (holding that a policy
    was neutral because “it imposes the same requirements on
    parents who home-school for secular reasons as on parents who
    do so for religious reasons”). Nor did either policy “make any
    reference to religion or ‘a religious practice without a secular
    meaning discernable from the language or context,”’ other than
    the August 2021 policy’s discussion of a religious exemption.
    Doe v. San Diego Unified Sch. Dist., 19 F.4th 1173, 1177 (9th
    Cir. 2021) (quoting Lukumi, 508 U.S. at 533).

            Spivack argues that, if the January 2022 policy controls,
    it is not neutral because it did not allow religious exemptions.
    But policies need not permit religious exemptions to be neutral,
    so long as the lack of an exemption does not reflect
    policymakers’ hostility toward religion. See We the Patriots
    USA, Inc. v. Hochul, 17 F.4th 266, 272, 282 (2d Cir. 2021)
    (“We the Patriots I”) (holding that a vaccine mandate without
    a religious exemption was neutral), cert. denied, 142 S. Ct.
    2569 (2022); Does 1-6 v. Mills, 16 F.4th 20, 24 (1st Cir. 2021)
    (same), cert. denied, 142 S. Ct. 1112 (2022).

            Nor does Krasner’s decision to eliminate the August
    2021 policy’s religious exemptions in the January 2022 policy
    necessarily undercut the latter policy’s neutrality. Our sister
    circuits have rejected such a categorical rule, which would
    force policymakers to preserve in amber any religious
    exemption—no matter how the circumstances justifying it
    changed—for fear of triggering strict scrutiny. See We the
    Patriots II, 76 F.4th at 149–50. After all, government officials
    may modify or eliminate religious exemptions for reasons
    other than “intoleran[ce] of religious beliefs” or a desire to
    “restrict[] [religious] practices because of their religious




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    nature.” Fulton, 593 U.S. at 533. Maine’s legislature, for
    instance, eliminated a vaccine mandate’s religious exemption
    in response to “declining vaccination rates” among healthcare
    workers. Does 1-6, 16 F.4th at 24. In a similar vein, Krasner
    removed the religious exemption here in part out of concern
    over the then-surging Omicron variant of COVID-19. Absent
    evidence of hostility toward religion, he could do so without
    undermining the policy’s neutrality.

           There is, however, a dispute of material fact as to
    whether anti-religious hostility tainted the DAO’s treatment of
    religious exemptions. That is because a reasonable jury could
    conclude, based on some evidence in the record, that the
    DAO’s treatment of religious exemptions reflected
    “intoleran[ce] of religious beliefs.” Fulton, 593 U.S. at 533.
    During Krasner’s deposition, Spivack’s lawyers asked him
    why he disagreed with the City’s vaccination policy. He
    replied:

          Because it presents yet another public safety
          health obstacle in the middle of an international
          pandemic within the walls of my office[, and]
          because it increases the urgency of as many other
          people in the office as possible being fully
          vaccinated. I don’t agree with it. I think that it
          is very unfortunate that nationally, I’m not, I
          don’t want to throw any rocks at the [C]ity for
          this, they are dealing with a lot, but it is true
          across the country that there are some people
          who are just flat-out unscientific and there are
          some people who are not as concerned as they
          really should be for their fellow human beings
          and, so, we find ourselves in a situation where




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          we have, basically, people who are denying
          science and are endangering others and it’s
          wrong. One of the things you may not know
          from my career is that I have sat in courtrooms
          where parents refused to provide medical care
          for their children and whose children then died,
          [and they] have been convicted of crimes and
          sent to jail for that and the law thinks that that’s
          right and the law thinks that that’s correct. Their
          basis for denying medical care[,] in some
          instances to more than one child after another
          who died, one child after another, was their
          religious beliefs. Rights are not completely
          unlimited. They can’t be completely unlimited
          and those children lost their lives because their
          parents were utterly unscientific in what they
          were doing. Government has a role and that role
          is to respect, observe[,] and elevate rights, but it
          is not to do so in a way that annihilates the
          population and kills people.

    App. 348–50.

           The Supreme Court has repeatedly emphasized “the
    State’s duty under the First Amendment not to base laws or
    regulations on hostility to a religion or religious viewpoint,”
    Masterpiece Cakeshop, Ltd. v. Colo. C.R. Comm’n, 584 U.S.
    617, 638 (2018), and cautioned that the Free Exercise Clause
    forbids even “subtle departures from neutrality,” Lukumi, 508
    U.S. at 534. In Masterpiece Cakeshop, for instance, it faulted
    a commission adjudicating a claim against a religious objector
    for “g[iving] every appearance of adjudicating [the] religious
    objection based on a negative normative evaluation of the




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    particular justification for [the] objection and the religious
    grounds for it.” 584 U.S. at 639 (cleaned up). It based this
    conclusion on a commissioner’s statement that disparaged a
    religious objector’s invocation of religious liberty as “one of
    the most despicable pieces of rhetoric that people can use.” Id.
    at 635.

           A jury must decide whether similar problems plague
    Krasner’s comments. They could be read to reflect a belief that
    those seeking a religious exemption are “unscientific” and
    selfish (“not as concerned as they really should be for their
    fellow human beings”) such that he needed to curtail religious
    exemptions to prevent religious objectors from “endangering
    others.” App. 349. A reasonable jury could interpret these
    comments to evince hostility toward religious viewpoints that
    influenced the DAO’s treatment of religious exemptions.

            Krasner’s comments merit particular scrutiny because
    he was the primary decisionmaker responsible for the vaccine
    mandate. Unlike cases in which the policymaker whose
    statements were under scrutiny “did not have a meaningful role
    in establishing or implementing the [m]andate’s
    accommodations process,” Kane, 19 F.4th at 165, or “did not
    actually issue the vaccination rule” in question, M.A., 53 F.4th
    at 38, Krasner had authority to set the terms of the mandate and
    to adjudicate exemption requests.

            At the same time, a reasonable jury could find that
    Krasner’s comments are not enough to show that hostility
    toward religion affected the DAO’s treatment of religious
    exemptions. “Assessing the relevance of statements by public
    officials to the question of religious animus is often context
    specific” and “fact-intensive.” Id. at 37. In the context of the
    entire record, Krasner’s comments could “suggest that [he]




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    wanted more people to obtain the vaccine out of a deep concern
    for public health,” not because he felt “animosity towards
    particular religious practices or a desire to target religious
    objectors . . . because of their religious beliefs.” We the
    Patriots I, 17 F.4th at 284; see M.A., 53 F.4th at 38 (observing
    that even “insensitive” comments could be neutral if they
    “express[] a concern for the community’s health, not a hostility
    towards religion”); Kane, 19 F.4th at 165 (holding that
    statements expressing a “belief that religious accommodations
    will be rare” did not raise neutrality concerns). He began his
    response by focusing on “public safety . . . within the walls of
    [his] office,” App. 348, and ended it by describing the state’s
    “role . . . to respect, observe[,] and elevate rights” while
    promoting public health, App. 350. Rather than disparaging
    religious practices, his testimony could be read to express the
    view that rights are not unlimited and that religious liberty,
    while important, must sometimes yield to other deeply rooted
    values, like protecting vulnerable people from illness.

           As with the contrary view, some evidence in the record
    supports this reading. For one thing, Spivack admitted in her
    deposition that she never heard from anyone at the DAO that
    Krasner is hostile to religion. Krasner testified that he
    respected Spivack’s beliefs and those of other religiously
    observant people. And he claimed that his decision to disallow
    religious exemptions in the January 2022 policy was rooted in
    respect for religion, because he “d[id] not want to be in a
    position of judging what people’s beliefs are sincere and what
    people’s beliefs are not sincere.” App. 340.6 Taken together,

    6
      Others at the DAO echoed this sentiment, professing respect
    for Spivack’s beliefs and claiming to have never heard anyone
    in the office disparage them.




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    this evidence could support a reasonable jury’s conclusion that
    Krasner’s statements fail to show that “the mandate was
    implemented with the aim of suppressing religious belief,
    rather than protecting the health and safety of . . . staff[] and
    the community.” San Diego Unified Sch. Dist., 19 F.4th at
    1177.

            In addition, Krasner made his statements about
    “unscientific” religious beliefs in August 2022, not
    contemporaneously with the enactment of the August 2021 or
    January 2022 policies or his adjudication of exemption
    requests. See Lukumi, 508 U.S. at 540 (emphasizing the
    relevance of the decisionmaker’s “contemporaneous
    statements”). This temporal gap may weaken the inference
    connecting these comments with any anti-religious sentiment
    underpinning the treatment of religious exemptions. See
    Swartz v. Sylvester, 53 F.4th 693, 701 (1st Cir. 2022)
    (distinguishing Lukumi based on the timing and content of the
    policymaker’s statements). But it does not eliminate any
    inference of religious hostility as a matter of law. After-the-
    fact statements are often probative of past motive, and courts
    have considered them in their neutrality analyses. See, e.g.,
    M.A., 53 F.4th at 37 (evaluating comments that “were made
    several weeks after the [policy] was rescinded and in a different
    context”); We the Patriots I, 17 F.4th at 283 (weighing
    comments made the month after a policy was enacted).

           With this backdrop, Krasner’s comments are ultimately
    “susceptible of different interpretations.”    Masterpiece
    Cakeshop, 584 U.S. at 635. A reasonable jury could find that
    they evince hostility toward religion that undermines the
    neutrality of the August 2021 and January 2022 policies. A
    reasonable jury could also reach the opposite conclusion.




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    Accordingly, neither party is entitled to summary judgment on
    neutrality.

                                   B

           Even if a government policy is neutral, it must also be
    generally applicable to avoid strict scrutiny. A policy is not
    generally applicable if it either: (1) “invites the government to
    consider the particular reasons for a person’s conduct by
    providing a mechanism for individualized exemptions”; or
    (2) “prohibits religious conduct while permitting secular
    conduct that undermines the government’s asserted interests in
    a similar way.” Fulton, 593 U.S. at 533–34 (cleaned up).
    Spivack claims that the DAO’s mandate fails in both respects.

                                   1

          Spivack first argues that the vaccine mandate is not
    generally applicable because it allowed for discretionary
    exemptions. Whether she is right depends on which version of
    the mandate controls.

            The August 2021 policy provides for two exemptions: a
    medical exemption for employees with “medical condition[s]
    that [are] a contraindication to the COVID-19 vaccine” and a
    religious exemption for “employees with verifiable, sincerely
    held religious beliefs, observances, or practices that conflict
    with getting vaccinated.” App. 52.7 It also states that “[t]he
    DAO makes determinations about requested accommodations


    7
     The August 2021 policy also sets out a disability exemption,
    which appears to be subsumed under the broader medical
    exemption.




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    and exemptions on a case-by-case basis considering various
    factors and based on an individualized assessment in each
    situation.” Id.

           These exemptions are different from the open-ended
    exemptions that courts have held trigger strict scrutiny. See
    Fulton, 593 U.S. at 535 (holding that strict scrutiny applied
    because the policy allowed an official to grant exemptions at
    “his/her sole discretion”); Blackhawk v. Pennsylvania, 381
    F.3d 202, 209 (3d Cir. 2004) (Alito, J.) (holding that an
    exemption for “hardship” or “extraordinary circumstances”
    required strict scrutiny); see also Sherbert v. Verner, 374 U.S.
    398, 401 (1963) (evaluating a “good cause” exemption).
    Unlike the defined exemptions here, those exemptions
    contained no criteria meaningfully cabining an official’s
    discretion. See Fulton, 593 U.S. at 536 (characterizing the
    exemption in that case as “entirely discretionary”).

            Still, the August 2021 policy—and evidence of that
    policy in operation, including the multi-question form Spivack
    completed in December 2021—makes clear that Krasner had
    significant discretion to evaluate religious exemption requests.
    See Kane, 19 F.4th at 169 (holding that a policy was not
    generally applicable when officials “reviewing . . . requests for
    religious accommodations had substantial discretion over
    whether to grant those requests” and applied standards
    inconsistently). Under one interpretation of the record, he used
    that considerable discretion to deny Spivack’s request. A
    reasonable jury could conclude, in other words, that the DAO
    created, on paper, a mechanism for individualized exemptions
    but then, in practice, declined “to extend [it] to cases of




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    religious hardship.” Fulton, 593 U.S. at 535 (internal quotation
    marks omitted). This practice would trigger strict scrutiny.8


    8
      The mere provision of a religious exemption does not itself
    trigger strict scrutiny. See Phillips v. City of New York, 775
    F.3d 538, 543 (2d Cir. 2015) (“[A policy with a religious
    exemption] goes beyond what the Constitution requires.”).
    Even when not constitutionally required, religious exemptions
    are “part of a mutually beneficial play in the joints between the
    Establishment Clause and Free Exercise Clause.” We the
    Patriots II, 76 F.4th at 150 (cleaned up). What does trigger
    strict scrutiny, however, is a policy of individualized,
    discretionary exemptions in which a government official may
    unilaterally evaluate “the particular reasons for a person’s
    conduct.” Fulton, 593 U.S. at 533; see also Does 1-11 v. Bd.
    of Regents of Univ. of Colo., 100 F.4th 1251, 1273 (10th Cir.
    2024) (holding that a policy was not generally applicable when
    the government “considered the particular reasons underlying
    the applicant’s religious beliefs and provided individualized
    exemptions to applicants whose religious beliefs, in [its]
    discretion, justified an exemption” (cleaned up)); We the
    Patriots I, 17 F.4th at 290 n.29 (observing that a general-
    applicability problem may arise when a policy “afford[s] so
    much discretion to rule on individual cases, and so few
    standards govern[] the exercise of that discretion, as to leave
    room for the [government] to apply potentially discriminatory
    standards” (citing Dahl v. Bd. of Trustees of W. Mich. Univ.,
    15 F.4th 728 (6th Cir. 2021) (per curiam))). We do not doubt
    that government actors need to engage in some level of review
    to evaluate religious exemption requests and are entitled to
    confirm that such requests stem from a sincerely held religious




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            But Krasner claims that Spivack was disciplined under
    a later policy—the January 2022 policy, which eliminated the
    religious exemption altogether and kept only the medical
    exemption.      He testified that he did not engage in
    individualized review of religious exemption requests and that
    religious exemptions were unavailable as a matter of policy—
    that is, he lacked any discretion over those requests—by the
    time Spivack’s request was denied.9

           That Krasner continued to evaluate medical exemption
    requests under the January 2022 policy does not undermine
    that policy’s general applicability. Medical exemptions were
    a separate and objectively defined category of exemption

    belief. Frazee v. Ill. Dep’t of Emp. Sec., 489 U.S. 829, 833
    (1989) (acknowledging the “difficulty of distinguishing
    between religious and secular convictions and . . . determining
    whether a professed belief is sincerely held”); Wisconsin v.
    Yoder, 406 U.S. 205, 215 (1972) (“[T]o have the protection of
    the Religion Clauses, the claims must be rooted in religious
    belief.”). But a reasonable jury could conclude that the DAO’s
    August 2021 policy, including the December 2021 exemption
    form, authorized “individualized assessments” with no
    apparent guidelines or guardrails. App. 52. Should the jury
    reach that conclusion, strict scrutiny would apply.
    9
      Though Spivack invokes Krasner’s discretion to grant or deny
    exemption requests, that argument conflates his power as DA
    to administer his office with the terms of the policy. It is
    undisputed that Krasner had significant authority to manage
    the DAO and set officewide policies, including vaccination
    policies. But the terms of the January 2022 policy meant that
    he no longer could evaluate religious exemption requests on an
    individualized basis.




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    requests. See We the Patriots I, 17 F.4th at 288–89 (holding
    that a medical exemption was not an individualized,
    discretionary exemption); We the Patriots II, 76 F.4th at 150–
    51 (explaining that medical objections do not afford the
    government meaningful discretion); Does 1-6, 16 F.4th at 30
    (holding that a “single objective exemption” did not undermine
    general applicability). With the January 2022 policy, Krasner
    divested himself of discretion to evaluate employees’ religious
    exemption claims, and maintained a separate, narrow medical
    exemption with objective criteria.

            But whether Krasner evaluated Spivack’s request under
    the January 2022 policy or the August 2021 policy remains a
    dispute of material fact. The District Court held that Spivack
    was subject to the January 2022 policy. There is, no doubt,
    significant evidence supporting that conclusion. Krasner
    testified that he did not perform an individualized assessment
    of the religious exemption requests and that he updated the
    policy before reviewing any. Madden—Krasner’s main
    advisor on COVID-19 policy—confirmed that account,
    claiming that the policy had changed and that, as a result, no
    one performed an individualized assessment of Spivack’s
    exemption request.

            Yet evidence in the record could lead a reasonable jury
    to find that Spivack’s exemption request was considered under
    the earlier policy. For one thing, the January 2022 policy was
    unwritten and was never communicated in any form to DAO
    staff. This omission was notable because the DAO typically
    informed its employees of changes to its COVID-19 policies
    in writing. Nothing in the record explains this striking
    oversight. And Listenbee, the First Assistant DA, testified that
    the August 2021 policy—including its individualized religious




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    exemption process—was still in effect when Krasner denied
    Spivack’s exemption request.10 A reasonable jury could
    conclude, therefore, that Krasner’s January 2022 decision to
    deny all religious exemptions was not a new “policy” at all, but
    rather an exercise of his nearly unbridled discretion under the
    August 2021 policy.11 There is thus a dispute of material fact
    as to which policy controlled and, by extension, whether the
    policy provided for individualized exemptions at Krasner’s
    discretion.

                                   2

          Spivack next argues that the vaccine mandate is not
    generally applicable because it “prohibits religious conduct
    while permitting secular conduct that undermines the

    10
       Krasner urges us to discount this testimony, arguing that
    Listenbee was unaware of the changed policy. But it is for the
    jury—not a court at the summary judgment stage—to assign
    the proper weight to this evidence.
    11
       Krasner’s conflicting testimony illustrates this point. Some
    of his testimony suggests that the August 2021 policy never
    went away, and that he maintained discretion to grant
    individual religious exemption requests. He claimed, for
    instance, that if Spivack had requested a remote work
    arrangement, “that is something that would have been seriously
    considered in retrospect; that is something that we would have
    granted.” App. 301. But, in the same deposition, he also said
    that the “categorical decision” not to grant religious
    exemptions “was a final decision,” App. 304, and that
    employees “are not being hired anymore with consideration of
    a religious accommodation,” App. 275. A jury must evaluate
    this evidence at trial.




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    government’s asserted interests in a similar way.” Fulton, 593
    U.S. at 534. She claims that two carveouts from the mandate
    violate this rule: its exclusion of unionized DAO employees,
    and its medical exemption. But neither carveout undermines
    the government’s asserted interests like a religious exemption
    would.

                                    i

            We can make quick work of the carveout for unionized
    employees. The record is clear that the August 2021 and
    January 2022 policies did not apply to unionized DAO
    employees because Krasner had no authority to require that
    they be vaccinated. Instead, those employees were subject to
    separate vaccination requirements—along with separate
    exemption processes—set out in collective bargaining
    agreements between their unions and the City. Krasner
    testified that he would have included unionized employees in
    the mandate if he could have, and he even expressed frustration
    about their exclusion. He cannot be faulted for complying with
    collective bargaining agreements that he had no role in
    negotiating or implementing. Cf. Kane, 19 F.4th at 165
    (considering the policymaker’s role and authority in the Smith
    analysis).12     Because Krasner lacked authority to set


    12
       Spivack contends that the Ninth Circuit’s decision in Bacon
    v. Woodward supports a contrary conclusion. 104 F.4th 744
    (9th Cir. 2024). The complaint in that case alleged that the City
    of Spokane required its firefighters to be vaccinated and denied
    all religious exemption requests. At the same time, Spokane
    used firefighters from neighboring towns—some of which
    granted exemptions to their respective vaccine requirements—




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    vaccination policy for unionized employees, their exclusion
    from the August 2021 and January 2022 policies does not
    undermine either policy’s general applicability.



    for backup services within its city limits through mutual aid
    agreements. Id. at 748. The majority of the panel held that the
    complaint plausibly alleged a Free Exercise Clause violation
    because Spokane’s implementation of the policy was not
    generally applicable: it “exempted certain firefighters based on
    a secular criterion—being a member of a neighboring
    department—while holding firefighters who objected to
    vaccination on purely religious grounds to a higher standard.”
    Id. at 751. The third panel member disagreed, concluding that
    “[t]he complaint alleges that [Spokane] applied the [policy] to
    [its] employees uniformly” and that other towns’ choices to
    adopt different policies did not disturb the general applicability
    of Spokane’s policy. Id. at 754 (Hawkins, J., dissenting). The
    dissent’s reasoning applies here. Krasner set vaccination
    policy for the only group he could: the at-will employees. He
    cannot be held responsible for the inevitable reality that the
    DAO’s at-will employees will interact with other people (i.e.,
    members of the police union and the public employee union)
    whose vaccination statuses are governed by other
    decisionmakers’ policies. And to the extent that the Bacon
    majority relied on the fungibility of firefighters from Spokane
    and the neighboring towns, see id. at 751 (stating that, by
    terminating its own unvaccinated firefighters, Spokane
    effectively chose to use other towns’ unvaccinated firefighters
    to “fill the gap[]”), no such dynamic exists here. Nothing in
    the record suggests that terminated at-will DAO employees
    will be replaced by unionized employees.




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                                    ii

           The medical exemption requires closer examination.
    Under the August 2021 policy, employees were exempt if they
    had “any . . . medical condition that is a contraindication to the
    COVID-19 vaccine.” App. 52. The January 2022 policy
    applied a similarly objective but slightly more stringent
    standard, exempting employees who could “demonstrate[] that
    the vaccine presented a verified risk of serious illness or
    death.” App. 487.

            The critical question is whether the medical exemptions
    in these policies are comparable to a religious exemption—in
    other words, whether the “preferential treatment of secular
    behavior” in the form of a medical exemption “affect[s] the
    regulation’s purpose in the same way as the prohibited
    religious behavior.” Lighthouse Inst., 510 F.3d at 266.
    “[T]reat[ing] any comparable secular activity more favorably
    than religious exercise” is enough to violate the general-
    applicability prong of Smith and trigger strict scrutiny. Tandon
    v. Newsom, 593 U.S. 61, 62 (2021). And “whether two
    activities are comparable for purposes of the Free Exercise
    Clause must be judged against the asserted government interest
    that justifies the regulation at issue.” Id. So we must determine
    (1) what the government’s asserted interests are, and
    (2) whether the medical exemption undermines those interests
    like a religious exemption would.

            At the first step, Spivack and Krasner put forward
    competing characterizations of the government’s interests.
    Krasner says that the mandate advances the DAO’s interests in
    employee and public health and safety. Spivack, by contrast,
    urges us to treat reducing the spread of COVID-19 in the office
    as the relevant interest.




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            We reject Spivack’s cramped characterization of the
    DAO’s interests. For one thing, our focus on “the asserted
    government interest,” Tandon, 593 U.S. at 62 (emphasis
    added), indicates that we give some deference to how the
    government characterizes its own interests. While we need not
    credit interests that lack support in the record (or those that the
    record reveals are pretextual), our analysis must acknowledge
    the government’s prerogative to decide which interests to
    emphasize in policymaking. See We the Patriots I, 17 F.4th at
    285 (“Plaintiffs do not point to any evidence suggesting that
    the interests asserted are pretextual or should otherwise be
    disregarded . . . .”); We the Patriots II, 76 F.4th at 151–52
    (accepting a government interest because it was supported by
    the record and was not pretextual); San Diego Unified Sch.
    Dist., 19 F.4th at 1178 n.5 (focusing on “the interest the
    [government] emphasizes most frequently in the record”). We
    also must account for the reality that the government often acts
    for several interrelated reasons. Does 1-6, 16 F.4th at 31
    (crediting the state’s multiple, “mutually reinforcing”
    interests); We the Patriots II, 76 F.4th at 152 n.20 (explaining
    that “it is not contradictory” for the government to focus on
    multiple related interests). We will therefore consider all
    legitimate interests asserted by the government, so long as the
    record supports them.

           Under this standard, there are three interconnected
    government interests that the DAO’s policies further:
    (1) preventing the spread of COVID-19, (2) ensuring adequate
    staffing in the office, and (3) protecting the health and safety
    of DAO employees and the public. Though we disaggregate
    these interests for clarity, they are mutually reinforcing: the
    DAO wanted to suppress the spread of a harmful infectious
    disease to protect the health of its employees and their loved




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    ones, the people they interact with in the criminal justice
    system, and the public; and to prevent an outbreak that could
    hobble the office.

           All these interests have ample support in the record.
    Krasner repeatedly testified about his concern for employee
    and public health, his desire to make the workplace as safe as
    possible and prevent COVID-19 outbreaks, and his belief that
    employee absences would affect the functioning of the office.
    The text of the August 2021 policy confirms these interlocking
    concerns, proclaiming that “[t]he DA’s office is setting a
    higher standard of health and safety due to the nature of our
    work, which requires many of us to work indoors and to
    interface with the public on a regular basis in our roles as public
    servants.” App. 51. No evidence suggests that any of these
    interests are pretextual, post hoc rationalizations.

           Considering this array of interests, we can draw “a
    principled distinction . . . between the prohibited religious
    behavior and its secular comparator in terms of their effects
    on” those interests. Lighthouse Inst., 510 F.3d at 266. Unlike
    a religious exemption, a medical exemption furthers the
    DAO’s interest in keeping its employees safe and healthy by
    allowing employees for whom the COVID-19 vaccine would
    cause death or illness to abstain from vaccination. See App.
    333 (“[A]llowing [the recipient of a medical exemption] that
    exemption goes directly to our goal rather than against it.”).
    We join several of our sister circuits in recognizing this
    common-sense distinction. Does 1-6, 16 F.4th at 34; We the
    Patriots I, 17 F.4th at 285; We the Patriots II, 76 F.4th at 153;
    San Diego Unified Sch. Dist., 19 F.4th at 1178. After all, the
    DAO “would hardly be protecting its [employees] if it required




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    them to accept medically contraindicated treatments.” Does 1-
    6, 16 F.4th at 34.13

           Our own general-applicability precedent supports this
    conclusion. Consistent with the Supreme Court’s guidance, we
    have repeatedly held that a policy’s general applicability turns
    on whether it treats similar religious and secular behavior
    similarly. In Fraternal Order of Police Newark Lodge No. 12
    v. City of Newark, for instance, we found that a police
    department’s facial hair prohibition was not generally

    13
       In addition, the record indicates that a religious exemption
    would undermine the government’s interest in preventing the
    spread of COVID-19 and maintaining adequate staffing to a
    greater extent than a medical exemption. See Blackhawk, 381
    F.3d at 209 (comparing the “degree” to which religious and
    secular exemptions undermine the purpose of a policy); We the
    Patriots I, 17 F.4th at 285–86 (considering whether secular
    exemptions are “at least as harmful” to the purpose of a policy
    as religious exemptions). Religious exemption requests
    outnumbered medical exemptions eight to one. Exemption
    requests for unionized employees, which were adjudicated by
    the City, reveal a similar trend. As a result, far more employees
    would be exempt from vaccination under a religious exemption
    than under a medical exemption, increasing the risk of
    spreading COVID-19 and causing an outbreak in the office.
    See We the Patriots I, 17 F.4th at 287 (considering the relative
    number of religious and medical exemptions in the
    comparability analysis); San Diego Unified Sch. Dist., 19 F.4th
    at 1178 (same); Lowe v. Mills, 68 F.4th 706, 715 (1st Cir. 2023)
    (“[I]t may be that medical exemptions are likely to be rarer,
    more time limited, or more geographically diffuse than
    religious exemptions . . . .”).




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    applicable. 170 F.3d 359 (3d Cir. 1999) (Alito, J.). The
    department said that it could not exempt officers who wished
    to grow beards for religious reasons because it wanted its
    officers to have a uniform, clean-shaven look. Id. at 360. But
    it offered a medical exemption to officers with skin conditions,
    whose beards broke with the department’s desired uniformity
    just like religious objectors’ would. Id. at 366. The department
    claimed that religious behavior would undermine its interest in
    aesthetic uniformity, but then permitted secular conduct that
    did just that.14

           The same problem afflicted a town’s anti-sign
    ordinance in Tenafly Eruv Association v. Borough of Tenafly,
    309 F.3d 144 (3d Cir. 2002). Citing the ordinance, the town
    prohibited religious markers on telephone poles while
    maintaining a de facto exemption for holiday decorations, lost-
    dog posters, and other neighborhood notices. Id. at 151.

    14
      Some have read Fraternal Order of Police to create a blanket
    rule that medical exemptions render a policy not generally
    applicable. See Bd. of Regents of Univ. of Colo., 100 F.4th at
    1277 (citing Fraternal Order of Police to hold that “a
    government policy that grants an exemption for medical
    reasons but denies the same exemption for religious reasons is
    not generally applicable” (internal quotation marks omitted)).
    That interpretation vastly overstates the case’s holding. We
    held that the medical exemption at issue triggered strict
    scrutiny only because it “undoubtedly undermine[d]” the
    government’s asserted interest in the same way a religious
    exemption would. Fraternal Ord. of Police, 170 F.3d at 366;
    see also Does 1-6, 16 F.4th at 33 (distinguishing Fraternal
    Order of Police on this basis); We the Patriots II, 76 F.4th at
    154 (same).




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    Though it claimed that religious markers would cause visual
    clutter, the town did not forbid the equally obtrusive secular
    signs. Id. at 167–68. Because the ordinance carved out secular
    behavior while prohibiting comparable religious behavior, we
    held that it was not generally applicable.

            We repeated this rule in Blackhawk v. Pennsylvania,
    381 F.3d 202 (3d Cir. 2004) (Alito, J.). In that case,
    Pennsylvania declined to grant religious exemptions to a law
    that imposed an annual fee on anyone keeping wild animals in
    captivity. Id. at 205. But the state exempted zoos and circuses
    from the fee regime, which undermined its interests in raising
    revenue and discouraging citizens from capturing wild animals
    just as much as a religious exemption would. Id. at 211.

            We applied this same reasoning but reached the
    opposite result in Lighthouse Institute for Evangelism, Inc. v.
    City of Long Branch, 510 F.3d 253 (3d Cir. 2007). There, a
    city declined to grant a religious exemption to a zoning
    ordinance, but exempted restaurants, retail stores, and other
    businesses. Id. at 276. The church that was denied an
    exemption argued that the ordinance was not generally
    applicable. But we rejected that argument: unlike a religious
    exemption, the exemption for restaurants and similar
    businesses furthered the ordinance’s purpose of revitalizing the
    city’s downtown area. Id.

           The lesson of these cases is clear.            When the
    government says that it cannot exempt religious exercise from
    a policy because doing so would undermine an important
    interest, but then exempts other groups or actions that
    undermine that same interest in the same way, its arbitrary
    distinction between religious and secular behavior raises an
    inference that it has targeted religious practice for distinctive




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    treatment. But when a religious exemption would affect the
    government’s interests in a different way or to a greater extent
    than another type of exemption, we draw no such inference.

           That is the case here. Both the August 2021 and January
    2022 policies applied to all employees over whom Krasner had
    policymaking authority, with a narrow, objectively defined
    exemption for employees whose health the vaccine would
    endanger. The DAO carved out that minor exemption to
    further—not undercut—its interest in employee health and
    safety. The medical exemption therefore does not undermine
    either policy’s general applicability.15

                                   C

          On remand, a jury must resolve which policy Krasner
    used when he denied Spivack’s religious exemption request

    15
       This conclusion aligns with Jacobson v. Massachusetts,
    which held that a vaccine mandate with only a limited medical
    exemption was constitutional under a standard akin to rational
    basis review, 197 U.S. 11, 12, 25 (1905), and which is still
    good law, see Child.’s Health Def., Inc. v. Rutgers, the State
    Univ. of N.J., 93 F.4th 66, 80 (3d Cir. 2024) (concluding “that
    Jacobson controls” and that “[t]he [Supreme] Court’s more
    recent pronouncements confirm [its] vitality”); Phillips, 775
    F.3d at 543 (citing “persuasive dictum” from Jacobson to hold
    that “mandatory vaccination as a condition for admission to
    school does not violate the Free Exercise Clause”); Nikolao v.
    Lyon, 875 F.3d 310, 316 (6th Cir. 2017) (citing Jacobson for
    its holding that “compulsory vaccination laws with only
    medical exemptions do not violate any federal constitutional
    right”).




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    and, by extension, whether the applicable policy provided for
    discretionary, individualized exemptions. The jury must also
    decide whether the policy was neutral given Krasner’s
    deposition testimony. The answers to these questions govern
    the applicable standard of scrutiny.

           If the DAO’s vaccine mandate is both neutral and
    generally applicable, it is subject to rational basis review.
    Under this deferential standard, a government action is
    constitutional if it is “rationally related to a legitimate
    government objective.” Tenafly Eruv Ass’n, 309 F.3d at 165
    n.24.

           Both the August 2021 and January 2022 policies would
    easily meet this standard. All the interests put forward by the
    DAO—protecting employee and public health, preventing the
    spread of COVID-19, maintaining staffing levels to ensure the
    proper functioning of the DAO and the criminal justice
    system—are legitimate. And both policies are rationally
    related to those objectives because they ensure that a greater
    proportion of the office is vaccinated and therefore less likely
    to contract and spread the virus, experience severe illness, or
    miss work. See We the Patriots II, 76 F.4th at 156 (holding
    that a vaccine mandate without a religious exemption is
    rationally related to the government’s interest in public health
    “because it seeks to maximize the number of
    [people] . . . vaccinated”).

           By contrast, if the mandate is not both neutral and
    generally applicable, strict scrutiny applies. Under this
    demanding standard, “[a] government policy can
    survive . . . only if it advances interests of the highest order and
    is narrowly tailored to achieve those interests.” Fulton, 593
    U.S. at 541 (cleaned up). “Put another way, so long as the




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    government can achieve its interests in a manner that does not
    burden religion, it must do so.” Id.

           The interests advanced by the August 2021 and January
    2022 policies are compelling. “Stemming the spread of
    COVID-19 is unquestionably a compelling interest.” Roman
    Cath. Diocese of Brooklyn v. Cuomo, 592 U.S. 14, 18 (2020).
    So are the related interests of “protecting public health against
    a deadly virus,” Does 1-6, 16 F.4th at 32, and ensuring
    adequate staffing of an essential government office.

           But the Supreme Court has instructed us not to frame
    government objectives “at a high level of generality”—instead,
    we “must scrutinize the asserted harm of granting specific
    exemptions to particular religious claimants.” Fulton, 593
    U.S. at 541 (cleaned up). “The question, then, is not whether
    the [DAO] has a compelling interest in enforcing its
    [vaccination] policies generally, but whether it has such an
    interest in denying an exception to [Spivack].” Id. Relatedly,
    the DAO must show that its policy was narrowly tailored,
    which “requires the government to demonstrate that a policy is
    the least restrictive means of achieving its objective.” Kane,
    19 F.4th at 169 (cleaned up).

            A jury must determine whether Krasner has cleared this
    high bar. The record reveals that Krasner considered
    alternatives to a vaccine mandate as a general matter—that is,
    for all DAO employees—and determined that they would be
    insufficient. But it does not resolve whether the DAO could
    have accommodated Spivack or other similarly situated
    religious objectors. See Lowe, 68 F.4th at 718 (holding that a
    document discussing alternatives to a vaccination requirement




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    in general terms did not satisfy strict scrutiny).16 Unanswered
    factual questions pervade this inquiry. How many similar
    exemption requests would the DAO need to grant? Would
    other, less restrictive mitigation measures for employees with
    religious exemptions (like giving them their own offices,
    enforcing a masking requirement, or imposing a testing regime
    only for exempt employees) have achieved the office’s
    objectives? If strict scrutiny applies, a jury must consider these
    questions and decide whether denying Spivack and others like
    her religious exemptions was narrowly tailored to serve a
    compelling interest.

                             *      *      *

           For the reasons set forth above, we will vacate the
    District Court’s order and remand the case for trial.




    16
        Like the Second Circuit, we reject the notion “that the
    Supreme Court’s precedents require[] us to confine our
    analysis to . . . each unvaccinated individual.” We the Patriots
    II, 76 F.4th at 152 (cleaned up); see also Lowe, 68 F.4th at 716
    (agreeing with the Second Circuit on this point). Government
    officials make policy in the aggregate. If the DAO granted
    Spivack an exemption, it would presumably grant the same
    exemption to similarly situated religious claimants. We may
    therefore consider the cumulative effect of such a policy in the
    strict scrutiny analysis.




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